Case 2:23-cv-01130-GRB-ARL Document 21-5 Filed 04/21/23 Page 1 of 52 PageID #: 266




          EXHIBIT A TO SPITZER
             DECLARATION
Case 2:23-cv-01130-GRB-ARL Document 21-5 Filed 04/21/23 Page 2 of 52 PageID #: 267




                                                                                    October 2022
                                        Curriculum Vitae

                                        Robert J. Spitzer

                         Distinguished Service Professor, Emeritus
                                      SUNY Cortland

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                  (607) 423-1781
                  Robert.spitzer@cortland.edu: robertispitzer53@gmail.com
                  https://sites.google.com/site/robertspitzercortland/


    Education:    A.B. (Political Science), summa cum laude. SUNY College at Fredonia, 1975.
                  M.A. Cornell University, 1978.
                  Ph.D. Cornell University, 1980.


    Positions Held:

           Department Chair, SUNY Cortland, 2008-2020.
           Interim Department Chair, SUNY Cortland, 2004-2005.
           Distinguished Service Professor, SUNY Cortland, 1997-2021.
           Visiting Professor, Cornell University, Spring, 2009, Spring 1993; Summers 1980, 1988-
                   1990, 1992-2017.
           Professor, SUNY Cortland, 1989 to 1997.
           Continuing Appointment, SUNY Cortland, 1986.
           Associate Professor, SUNY Cortland, 1984 to 1989.
           Department Chair, SUNY Cortland, 1983 to 1989.
           Visiting Professor, SUNY College of Technology, Utica-Rome, Graduate Division, 1985,
                   1986, 1988.
           Copy Editor, Administrative Science Quarterly. 1982 to 1983.
           Adjunct Professor, Tompkins-Cortland Community College, 1982-83.
           Assistant Professor, SUNY Cortland, 1979 to 1984.
           Instructor, Cornell University, 1979.
           Instructor, Eisenhower College, 1978-1979.
           Research Assistant, Theodore J. Lowi and Benjamin Ginsberg, 1976-1978.
           Reporter (Stringer), Buffalo Courier-Express; Dunkirk Evening Observer, 1974-75.


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Case 2:23-cv-01130-GRB-ARL Document 21-5 Filed 04/21/23 Page 3 of 52 PageID #: 268




    Honors:

          Fellow, the Royal Society for Arts, Manufactures and Commerce (RSA), London,
          England, 2020.
          Founding member, Regional Gun Violence Research Consortium, coordinated with the
          Rockefeller Institute of Government. Consortium of gun policy experts from eight states
          to advance research on gun policy, 2018-present.
          Member, SUNY Research Council, an advisory council to the SUNY Board of Trustees,
          SUNY System Administration, campus leadership teams, and the leadership team of the
          Research Foundation (RF) for SUNY, 2018-2021.
          Member, Scholars Strategy Network, 2015-present. Created to improve public policy and
          strengthen democracy by connecting scholars and their research to policymakers, citizens
          associations, and the media.
          Winner, Pi Sigma Alpha (the national political science honors society) Chapter Advisor
          of the Year Award for 2013.
          Winner, Outstanding Achievement in Research Award, SUNY Cortland, 2010.
          Winner, Outstanding Achievement in Research Award, SUNY Cortland, 2005.
          Winner, State University of New York’s Chancellor’s Excellence in Scholarship and
                  Creative Activities Award, 2003.
          SUNY Cortland Nominee, National Scholar Competition of the Honor Society of Phi
                  Kappa Phi, 1994-95.
          Winner, New York State/United University Professions Excellence Award, 1991, for
                  "outstanding professional performance and superior service."
          Member, New York State Commission on the Bicentennial of the U.S. Constitution,
                  1986-1990.
          Member, New York State Ratification Celebration Committee for U.S. Constitution
          Bicentennial, 1987-88.
          Member, National Bicentennial Competition on the Constitution and the Bill of Rights,
                  1987-1991.
          Who's Who in the World. 1996.
          Dictionary of International Biography. 1995.
          Who’s Who in the East. 1995-96; 1997-98
          Ex officio member, Cortland County Bicentennial Committee, 1987-89.
          Chair, SUNY Cortland Bicentennial Committee, 1987-89.
          Phi Eta Sigma, SUNY Cortland, 1994.
          Phi Kappa Phi, SUNY Cortland, 1990.
          Men of Achievement (1986)
          Contemporary Authors, vol. 112 (1985) and subsequent updates.
          International Authors and Writers Who's Who. 1985-present.
          International Who's Who in Education. Winter 1985-86.
          Herbert H. Lehman Graduate Fellowship, 1975-79.
          Who's Who Among Students in American Universities and Colleges. 1974-75.
          Phi Beta Kappa Club, SUNY College at Fredonia, 1975.
                                                   2
Case 2:23-cv-01130-GRB-ARL Document 21-5 Filed 04/21/23 Page 4 of 52 PageID #: 269




            Phi Alpha Theta (History), SUNY College at Fredonia, 1974.
            Phi Mu Alpha Sinfonia, (Music), SUNY College at Fredonia, 1973.


     Research Fellowships and Projects:

            Individual Development Awards, SUNY Cortland, 2001, 2003, 2005, 2006, 2007, 2008,
            2009, 2014, 2017, 2020.
            Title “F” Leave with pay, Spring 1994.
            Professional Development and Quality of Working Life Award, 1989, 1993, 1998, 1999.
            National Endowment for the Humanities (NEH) Research Grant for Study of the
            Constitution, 1986. Project Proposal: “The Presidential Veto: Constitutional Antecedents
            and Modem Applications.”
            SUNY Cortland Faculty Research Program Grant, “The Presidential Veto, 1986.
            Consultant for Reporting Research Corporation, “Quality of Earnings Report,” Thornton
            L. O’Glove, author; research on presidential veto use, 1984-1987.
            SUNY University Awards Program Research Fellowship, “The Right to Life Party and
            New York State Politics, 1983.
            SUNY Cortland Faculty Research Program Fellowship, “New York State Parties and
            Politics,” 1980.


    Publications and Papers:

            Books:

            The Presidency and Public Policy: The Four Arenas of Presidential Power (University,
            AL: The University of Alabama Press, 1983). A study of the President's relations with
            Congress in the making of domestic policy. Revised version of doctoral dissertation.

            The Right to Life Movement and Third Party Politics (Westport, CT: Greenwood Press,
            1987). A study of the New York multi-party system, single-issue third parties, and the
            state-based Right to Life Party.

            The Presidential Veto: Touchstone of the American Presidency (Albany, NY: SUNY
            Press, 1988), with a foreword by Louis Fisher. A study of the constitutional antecedents
            and modem applications of the veto power. Published as part of SUNY Press Series on
            Leadership, edited by Barbara Kellerman.

           Editor, The Bicentennial of the U.S. Constitution: Commemoration and Renewal
           (Cortland, NY: SUNY Cortland, 1990). A compendium of articles based on presentations
           given at SUNY Cortland pertaining to the Constitution's Bicentennial. Contributors
           include Senator Daniel Patrick Moynihan, Theodore J. Lowi, Judith A. Best, and Robert
                                                   3
Case 2:23-cv-01130-GRB-ARL Document 21-5 Filed 04/21/23 Page 5 of 52 PageID #: 270




          Spitzer.

          President and Congress: Executive Hegemony at the Crossroads of American
          Government (New York: McGraw-Hill; and Temple University Press, 1993). Published
          simultaneously by co-publishing agreement in paper by McGraw-Hill, and hardcover by
          Temple. An analytic survey and critique of presidential-congressional relations. Received
          Honorable Mention for the Richard Neustadt Award for Best Book on the Presidency for
          1993.

          Editor, Media and Public Policy (New York: Praeger, 1993). Published in Praeger's
          Political Communications Series, edited by Robert E. Denton, Jr. A collection of original
          essays dealing with various aspects of media's impact on public policy. Contributors
          include Doris Graber, Julio Borquez, Wenmouth Williams, Marion Just, Ann Crigler,
          Michael Hawthorne, Dean Alger, Jerry Medler, Michael Medler, Montague Kern, Robert
          Sahr, Holli Semetko, Edie Goldenberg, Patrick O'Heffeman, and Robert Spitzer.

          The Politics of Gun Control (New York: Chatham House, 1995; 2nd edition, 1998; 3rd
          edition, CQ Press, 2004; 4th ed. 2008; 5th ed., Paradigm/Routledge Publishers 2012; 6th
          ed., Routledge, 2015, 7th ed., 2018; 8th ed. 2021). A comprehensive political and policy
          analysis of the gun issue that applies policy theory to the key elements of the gun debate,
          including analysis of the Second Amendment, cultural-historical factors, interest group
          behavior, criminological consequences, legislative and executive politics.

          Editor, Politics and Constitutionalism: The Louis Fisher Connection. (Albany, NY:
          SUNY Press, 2000). A collection of original essays inspired by the works of Louis
          Fisher. Contributors include Neal Devins, Nancy Kassop, Dean Alfange, David Adler,
          Loch Johnson, Michael Glennon, Louis Fisher, and Robert Spitzer. Published as part of
          the SUNY Press Book Series on American Constitutionalism. Nominated by SUNY Press
          for the 2001 Silver Gavel Award of the American Bar Association.

          The Right to Bear Arms: Rights and Liberties Under the Law (Santa Barbara, CA: ABC-
          CLIO, 2001). An extensive analysis of the Second Amendment “right to bear arms” from
          legal, historical, and political perspectives. Published as part of the “America’s
          Freedoms” Series edited by Donald Grier Stephenson.

          Essentials of American Politics, co-authored with Benjamin Ginsberg, Johns Hopkins;
          Theodore Lowi, Cornell; Margaret Weir, Berkeley. (W.W. Norton, 2002; 2nd edition,
          2006). A synthetic, analytic look at American government and politics.

          The Presidency and the Constitution: Cases and Controversies, co-authored with Michael
          A. Genovese (NY: Palgrave/Macmillan, 2005). A combination of analysis and cases
          examining the courts’ view of presidential power.

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Case 2:23-cv-01130-GRB-ARL Document 21-5 Filed 04/21/23 Page 6 of 52 PageID #: 271




          Saving the Constitution from Lawyers: How Legal Training and Law Reviews Distort
          Constitutional Meaning (New York: Cambridge University Press, 2008). A sweeping
          indictment of the legal community when it enters into the realm of constitutional
          interpretation.

          We the People: Essentials Edition, co-authored with Benjamin Ginsberg, Johns Hopkins;
          Theodore Lowi, Cornell; Margaret Weir, Berkeley. (W.W. Norton, 7th ed. 2009; 8th ed.
          2011; 9th ed., 2013; 10th ed. 2015; llthed. 2017; 12th ed. 2019; 13th ed. 2021).

          Gun Control: A Documentary and Reference Guide (Westport, CT: Greenwood
          Publishing Group, 2009). A combination of analysis, commentary, and original historical
          and contemporary documents pertaining to the gun issue published in Greenwood’s
          Documentary and Reference Series.

          The Gun Debate: An Encyclopedia of Gun Rights and Gun Control, co-authored with
          Glenn Utter (Grey House Publishers, 2011; third edition 2016). An A-Z compendium of
          gun issues.

          Guns across America: Reconciling Gun Rules and Rights (New York: Oxford University
          Press, 2015); revised paperback edition published 2017. Argues that our understanding of
          the gun issue as it has evolved in the U.S. is upside down, looking at gun law history, the
          Second Amendment, stand your ground laws, and New York State gun laws.

          The Gun Dilemma: How History Is Against Expanded Gun Rights (New York: Oxford
          University Press, 2023, forthcoming). Argues that the courts are ushering in a new era of
          expanded gun rights, despite the fact that such a movement is contrary to our gun history
          by examining assault weapons, ammunition magazines, silencers, gun brandishing, and
          the Second Amendment sanctuary movement.

          Book Series Editor, Series on American Constitutionalism. SUNY Press, 1996-present.
          Books include:
                 Daniel Hoffman, Our Elusive Constitution. (1997)
                 Martin Sheffer, God and Caesar: Belief. Worship, and Proselytizing Under the
                First Amendment. (1999)
                Daniel Levin, Representing Popular Sovereignty: The Constitution in American
                Political Culture. (1999)
                Robert Spitzer, ed., Politics and Constitutionalism. (2000)
                Laura Danger, Judicial Review in State Supreme Courts (2002)
                 Ian Brodie, Friends of the Court (2002)
                 Samuel Leiter and William Leiter, Affirmative Action in Antidiscrimination
                         Law and Policy (2002)
                Artemus Ward, Deciding to Leave: The Politics of Retirement from the United
                 States Supreme Court (2003)
                                                   5
Case 2:23-cv-01130-GRB-ARL Document 21-5 Filed 04/21/23 Page 7 of 52 PageID #: 272




                James T. McHugh, Ex Uno Plura: State Constitutions and Their Political Cultures
                (2003)
                Stephen Newman, ed., Constitutional Politics in Canada and the United States
                (2004).
                Stephen Kershnar, Justice for the Past (2004).
                Timothy R. Johnson, Oral Arguments and Decision Making on the U.S. Supreme
                Court (2004). ,
                Christopher P. Banks, David B. Cohen, and John C. Green, eds., The Final
                Arbiter: The Consequences of Bush v. Gore for Law and Politics (2005)
                Kenneth D. Ward and Cecilia R. Castillo, eds., The Judiciary and American
                Democracy: Alexander Bickel. the Countermaioritarian Difficulty, and
                Contemporary Constitutional Theory (2005).
                G. Alan Tarr and Robert F. Williams, eds., State Constitutions for the Twenty-
                first Century: The Politics of State Constitutional Reform (2006).
                Frank P. Grad and Robert F. Williams, State Constitutions for the Twenty-first
                Century: Drafting State Constitutions. Revisions, and Amendments (2006).
                G. Alan Tarr and Robert F. Williams, eds., State Constitutions for the Twenty-
                first Century: The Agenda of State Constitutional Reform. 3 vols. (2006).
                Cary Federman, The Body and the State: Habeas Corpus and American
                Jurisprudence (2006).
                Christopher S. Kelley, ed., Executing the Constitution: Putting the President Back
                into the Constitution (2006).
                David Fagelson, Justice as Integrity: Tolerance and the Moral Momentum of Law
                (2006).
                Christopher Shortell, Rights. Remedies, and the Impact of State Sovereign
                Immunity (2008).
                Robert Blomquist, The Quotable Judge Posner (2010).
                Kirk A. Randazzo, Defenders of Liberty or Champions of Security? (2010).
                Pamela Corley, Concurring Opinion Writing on the U.S. Supreme Court (2010).
                Samuel Leiter and William Leiter, Affirmative Action in Antidiscrimination Law
                and Policy (2nd ed. 2010).
                Julia R. Azari, et ah, eds., The Presidential Leadership Dilemma (2013).
                Stephen A. Simon, Universal Rights and the Constitution (2014).
                Kirk A. Randazzo and Richard W. Waterman, Checking the Courts (2014).
                Anthony Maniscalco, Public Spaces. Marketplaces, and the Constitution (2015).
                Goirgi Areshidze et ah, eds., Constitutionalism. Executive Power, and the Spirit
                of Moderation (2016).
                Peter J. Galie, et ah, eds., New York’s Broken Constitution (2016).
                Robert J. Hume, Ethics and Accountability on the U.S. Supreme Court (2017).
                Michael A. Dichio, The U.S. Supreme Court and the Centralization of Federal
                Authority (2018).
                Clyde H. Ray, John Marshall’s Constitutionalism (2019).
                Daniel P. Franklin, et ah, The Politics of Presidential Impeachment (2020).
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Case 2:23-cv-01130-GRB-ARL Document 21-5 Filed 04/21/23 Page 8 of 52 PageID #: 273




                 Robert M. Howard, et al., Power. Constraint, and Policy Change: Courts and
                 Education Finance Reform (2021).
                 Mark C. Dillon, The First Chief Justice (2022).

          Book Series Editor, Presidential Briefing Books. Routledge, 2015-present
                Mary Stuckey, Political Rhetoric (2015)
                Michael A. Genovese, Presidential Leadership in an Age of Change (2015)
                Christopher Fettweis, Making Foreign Policy Decisions (2016)
                Nancy Maveety, Picking Judges (2016)
                Richard S. Conley, Presidential Relations with Congress (2017)
                Andrew L. Stigler, Governing the Military (2019)
                Graham G. Dodds, The Unitary Presidency (2020)


          Member, Board of Editors for the Encyclopedia of Guns in American Society, 2 vols.
          (Santa Barbara, CA: ABC-CLIO, 2003; second ed. 2011). Winner of the Booklist
          Editors’ Choice Award for 2003, American Library Association.

          Member, Board of Editors, Issues: Understanding Controversy and Society. ABC-CLIO,
          2011-2016.


          Book Chapters:

          "Third Parties in New York," in Governing New York State (formerly New York State
          Today), ed. by Robert Pecorella and Jeffrey Stonecash (Albany, N.Y.: SUNY Press,
          1984, 1989, 1994, 2001, 2006). Chapter revised for second, third, fourth, and fifth
          editions.

          "Gun Control: Constitutional Mandate or Myth," in Social Regulatory Policy: Recent
          Moral Controversies in American Politics, ed. by Raymond Tatalovich and Byron
          Daynes (Boulder, CO: Westview Press, 1988), 111-141.

          "The President's Veto Power," in Inventing the American Presidency: Early Decisions
          and Critical Precedents, ed. by Thomas Cronin (Lawrence, KA: University Press of
          Kansas, 1989), 154-179.

          "President and Congress," in The CO Guide to the Presidency, ed. by Michael Nelson
          (Washington, D.C.: Congressional Quarterly, Inc., 1989; revised for 2nd ed., 1996 and 3rd
          ed. 2002; 4th ed. 2007; 5th ed. 2012).

          Nineteen entries in Encyclopedia of American Political Parties and Elections, ed. by L.
          Sandy Maisel (New York: Garland Pub., 1991): American Labor Party, Benjamin Bubar,
                                                7
Case 2:23-cv-01130-GRB-ARL Document 21-5 Filed 04/21/23 Page 9 of 52 PageID #: 274




          closed primary, Conservative Party, cross-endorsement rule, Free Soil Party, Greenback
          Party, Liberal Party, Liberty Party, John V. Lindsay, Allard K. Lowenstein, open
          primary, Right to Life Committee, Right to Life Party, Prohibition Party, Alex Rose, split
          ticket voting, telethons, Mary Jane Tobin.

          Author of "Thought Boxes" for Theodore J. Lowi and Benjamin Ginsberg, American
          Government: Freedom and Power fNY: W.W. Norton, 1990, 1992, 1994, 1996, 1998); 50
          for 1st ed.; 30 additional for 2nd ed., 45 additional for 3rd ed.; 29 for 4th ed., 26 for 5th.

          "Executive Vetoes," in Encyclopedia of the American Legislative System, ed. by Joel
          Silbey (NY: Charles Scribner's Sons, 1993).

          "The Conflict Between Congress and the President Over War," in The Presidency and the
          Persian Gulf War, ed. by Marcia Whicker, Raymond Moore, and James Pfiffner (New
          York: Praeger, 1993).

          "Is the Separation of Powers Obsolete?" in The Presidency Reconsidered, ed. by Richard
          W. Waterman (Itasca, IL: F.E. Peacock, 1993); also in Understanding the Presidency, ed.
          by James Pfiffner and Roger Davidson (NY: Longman, 1997; 2nd ed. 2000; 3rd ed. 2002;
          4th ed. 2006).

          Seven entries in the Encyclopedia of the American Presidency, ed. by Leonard W. Levy
          and Louis Fisher (NY: Simon and Schuster, 1994), including “Council on Environmental
          Quality,” “Office of Intergovernmental Relations,” “Presentation Clause,” “Signing
          Statements,” “Item Veto,” “Pocket Veto,” “Regular Veto”.

          Two entries in the Encyclopedia of the United States Congress, ed. by Donald C. Bacon,
          Roger H. Davidson, and Morton Keller (NY: Simon and Schuster, 1994), including
          “Separation of Powers” and “Presidential Veto”.

          "The President, Congress, and the Fulcrum of Foreign Policy," in The Constitution and
          the Conduct of American Foreign Policy, ed. by David Gray Adler, with an introduction
          by Arthur Schlesinger, Jr. (Lawrence, KS: University Press of Kansas, 1996), 85-113.

          "Resources Development in the EOP," in The Executive Office of the President, ed. by
          Elarold Relyea (Westport, CT: Greenwood Press, 1997).

          "Council on Environmental Quality," in the Oxford Historical Guide to American
          Government (NY: Oxford University Press, 1997).

          "From Presidential Shield to 'Go Ahead, Make My Day': The Presidential Veto and the
          Constitutional Balance of Power," in Liberty Under Law, ed. by Kenneth Grasso and
          Cecilia R. Castillo (Lanham, MD: University Press of America, 1997; 2nd ed. 1998).
                                                  8
Case 2:23-cv-01130-GRB-ARL Document 21-5 Filed 04/21/23 Page 10 of 52 PageID #: 275




           "Multi-Party Politics in New York," in Multi-Party Politics and American Democracy.
           ed. by Paul Hermson and John Green (Rowman & Littlefield, 1997; revised for second
           edition, 2002).

           Author of “Cultures” and “Debates” boxes for Benjamin Ginsberg, Theodore Lowi, and
           Margaret Weir, We the People (NY: W.W. Norton, 1997, 1999). 19 for 1st ed.; 17 for
           2nd ed.

          “Gun Control: Constitutional Mandate or Myth?” in Moral Controversies in American
          Politics, ed. by Raymond Tatalovich and Byron Daynes (NY: M.E. Sharpe, 1998; 2005;
          2010), 164-195. Revised for new editions.

           “The Right to Life Party” and related entries in The Encyclopedia of American Third
           Parties, ed. by Immanuel Ness and James Ciment (NY: M.E. Sharpe, 2000).

          “New York, New York: Start Spreadin’ the News,” in Prayers in the Precincts, ed. by
          John Green, Mark Rozell, and Clyde Wilcox (Washington, DC: Georgetown University
          Press, 2000).

           “The Clinton Crisis and Its Consequences for the Presidency,” in The Clinton Scandal
           and the Future of American Politics, ed. by Mark Rozell and Clyde Wilcox (Washington,
           DC: Georgetown University Press, 2000), 1-17.

           “Saving the Constitution from Lawyers,” in Politics and Constitutionalism, ed. by Spitzer
           (Albany, NY: SUNY Press, 2000).

          “Gun Control and Policy” and “Veto Power” for the Encyclopedia of American Political
          History, ed. by Paul Finkelman (Washington, D.C.: Congressional Quarterly, 2000).

           "Article I, Section 7," in The Constitution and Its Amendments, ed. by Roger Newman
           (NY: Macmillan, 2001).

          “Lost and Found: Researching the Second Amendment,” in The Second Amendment in
          Law and History, ed. by Carl Bogus (NY: The New Press, 2001), 16-47.

          “Veto Power” in The Oxford Companion To United States History ed. by Paul Boyer
          (NY: Oxford University Press, 2001).

          “The Independent Counsel and the Post-Clinton Presidency” in The Presidency and the
          Law: The Clinton Legacy, ed. by David Adler and Michael Genovese (Lawrence, KS:
          University Press of Kansas, 2002), 89-107.

                                                   9
Case 2:23-cv-01130-GRB-ARL Document 21-5 Filed 04/21/23 Page 11 of 52 PageID #: 276




          “The Veto King: The ‘Dr. No’ Presidency of George Bush,” in Honor and Loyalty: Inside
          the Politics of the Bush White House, ed. by Leslie Feldman and Rosanna Perotti
          (Westport, CT: Greenwood Press, 2002), 233-53.

          Fifty-two entries in the Encyclopedia of Guns in American Society, ed. by Gregg Lee
          Carter (Santa Barbara, CA: ABC-CLIO, 2003; second ed. 2011): including AWARE,
          assault weapons, Assault Weapons ban of 1994, automatic weapons laws, background
          checks, Brady Law, Harlon Carter, Eddie Eagle, Federation for NRA, Firearms Owners
          Protection Act of 1986, NRA-ILA, LSAS, Licensing, MMM, MAVIA, National Board
          for the Promotion of Rifle Practice, National Guard, NRA, NRA PVF, Presser v. Illinois,
          Quilici v. Morton Grove, Safety Courses, SAS, semiautomatic weapons, speedloaders,
          Turner Diaries, Waiting Periods.

          Nine entries for the Encyclopedia of the American Presidency, ed. by Michael Genovese
          (NY: Facts on File, 2004): Edward Corwin, Council on Environmental Quality, Gramm-
          Rudman-Hollings, Persian Gulf War, legislative veto, presentation clause, item veto,
          pocket veto, veto.

          “Third Parties,” “Presidents,” and “The Right to Life Party” for The Encyclopedia of
          New York State, ed. by Peter Eisenstadt (Syracuse: Syracuse University Press, 2004).

          “Gun Rights for Terrorists? Gun Control and the Bush Presidency,” Transformed By
          Crisis: The Presidency of George W. Bush and American Politics, ed. by Jon Kraus,
          Kevin McMahon, and David Rankin (NY: Palgrave Macmillan, 2004), 141-165.

          “The Presidential Veto Is An Effective Tool for Governing,” in Debating the Presidency.
          Robert P. Watson and David Freeman, eds. (Dubuque, IA: Kendall/Hunt, 2005).

          “Veto: The Power to Say ‘No,’” in Thinking About the Presidency, ed. by Gary L. Gregg
          (Lanham, MD: Rowman & Littlefield, 2005).

          “The ‘Protective Return’ Pocket Veto: Presidential Aggrandizement of Constitutional
          Power,” Executing the Constitution, ed. By Chris Kelley (Albany: SUNY Press, 2006),
          109-126.

          “Gun Violence and Gun Control,” in Social Issues in America: An Encyclopedia. 8 vols.,
          ed. By James Ciment (NY: M.E. Sharpe, 2006).

          “The Commander-in-Chief Power and Constitutional Invention in the Bush
          Administration,” The Presidency and the Challenge of Democracy, ed. By Michael
          Genovese and Lori Cox Han (New York: Palgrave Macmillan, 2006), 93-117.

          “Right to Bear Arms,” Encyclopedia of American Civil Liberties. 4 vols., ed. By Paul
                                                10
Case 2:23-cv-01130-GRB-ARL Document 21-5 Filed 04/21/23 Page 12 of 52 PageID #: 277




          Finkelman (NY: Routledge, 2006).

          “Gun Violence is a Serious Problem,” Gun Violence: Opposing Viewpoints. Margaret
          Haerens, ed. (New York: Thomson Gale, 2006).

          “The Commander-in-Chief Power in the George W. Bush Administration,” Presidential
          Power in America, ed. By Lawrence R. Velvel (Andover, MA: Doukathsan Press, 2007).

          “Presidential Veto” and “Gun Control,” Encyclopedia of American Government and
          Civics ed. Michael Genovese and Lori Cox Han (New York: Facts-on-File, 2008).

          “Gerald R. Ford,” Encyclopedia of Political Communication ed. By Lynda Lee Raid and
          Christina Holtz-Bacha (Thousand Oaks, CA: Sage Pubs., 2008).

          “Leading Elite Opinion: Law Reviews and the Distortion of Scholarship,” in Leadership
          at the Crossroads. Vol 2, “Leadership and Politics,” ed. By Michael Genovese and Lori
          Cox Han (Westport, CT: Praeger, 2008).

          “Gun Control Policy,” in Encyclopedia of Issues in U.S. Public Policy, ed. By Mark
          Rushefsky (Farmington Hills, MI: Gale Publishing, 2009).

          “‘Hot’ and ‘Not-So-Hot’ Buttons in the 2008 Presidential Election,” in Winning the
          Presidency 2008. William Crotty, ed. (Boulder, CO: Paradigm Publishers, 2009).

          “Resolved, that the President Should Not be Given a Line Item Veto,” in Debating
          Reform: Conflicting Perspectives on How to Fix the American Political System. Richard
          Ellis and Michael Nelson, eds. (Washington, D.C.: CQ Press, 2010; revised for 2nd ed.
          2013).

          “Looking Through the Other End of the Telescope: Playing in Lowi’s Arenas,” in
          Political Science as Public Philosophy: Essays in Honor of Theodore J. Lowi. Benjamin
          Ginsberg and Gwendolyn Mink, eds. (New York: W.W. Norton, 2010).

          “Why Do Americans Love Guns So Much, and Does Everyone Own One?” You Asked:
          20 Questions About America. U.S. Department of State, 2010.

          “Liberals and the Presidency,” Contending Approaches to the American Presidency.
          Michael Genovese, ed. (Washington, DC: CQ Press, 2011).

          “Is the Constitutional Presidency Obsolete?” The American Presidency in the 21st
          Century. Charles Dunn, ed. (Lexington: University Press of Kentucky, 2011).

          “Gun Control,” in Governing America, ed. By Paul Quirk and William Cunion (New
                                               11
Case 2:23-cv-01130-GRB-ARL Document 21-5 Filed 04/21/23 Page 13 of 52 PageID #: 278




           York: Facts on File, 2011).

           “Stricter Gun Laws are Reasonable and Sensible,” for Issues: Understanding Controversy
           and Society. ABC-CLIO, 2011. Web. 28 September.

          “Gun Control,” Encyclopedia of Applied Ethics. 2nd ed., Vol. 2, Ruth Chadwick, ed. (San
          Diego: Academic Press/Elsevier, 2012), 538-44.

          “Hot Button Issues in the Presidential Campaign: 47% Yes, Guns No?” Winning the
          Presidency 2012. William J. Crotty, ed. (Boulder, CO: Paradigm Publishers, 2013).

          “Meaning of the Second Amendment: The Motives Behind the Second Amendment:
          Federalism and Military Preparedness.” American Government. ABC-CLIO, 2013. Web.
          September 10.

          “Clinton and Gun Control: Boon or Bane?” A True Third Wav? Domestic Policy and the
          Presidency of William Jefferson Clinton. Richard Himmelfarb, ed. (New York: Nova
          Publishers, 2014), 81-92.

          “Gun Control,” American Governance. 5 vols. Stephen L. Schechter, ed. (Detroit:
          Macmillan, 2016).

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          presented before the New York State Assembly Committee on Election Law, Albany,
          N.Y., May 15, 1980.

          "New York's Multi-Party System," a presentation given before members of the Mexican
          and Canadian Parliaments at the Rockefeller Institute for Governmental Studies, Albany,
          N.Y., October 29, 1982.

          "Comments and Recommendations on 'The New York State Assembly: The Need for
          Improved Legislative Management,"1 co-authored with Henry Steck, prepared for the
          New York State Assembly Republican Study Group, September, 1985.

          "Registration, Voting, and the New York Election Law," Testimony presented before the
          Governor’s Task Force to Encourage Electoral Participation, World Trade Center, New
          York City, December 21, 1987.

          "The Pocket Veto and Sine Die Adjournments," Testimony presented to the Rules
          Committee, Subcommittee on the Legislative Process, House of Representatives,
          Washington D.C., July 26, 1989.

          "Issues Pertaining to the Pocket Veto," Testimony presented to the Judiciary Committee,
          Subcommittee on Economic and Commercial Law, House of Representatives,
          Washington, D.C., May 9, 1990.

          "The Stealth Veto: Does the President Already Possess Item Veto Powers?" Testimony
          presented to the Judiciary Committee, Subcommittee on the Constitution, U.S. Senate,
          Washington, D.C., June 15, 1994.

          “The Hidden History of the Second Amendment,” The National Press Club, Washington,
          D.C., May 12, 1998.

          “The Second Amendment: A Source of Individual Rights?” Testimony presented to the
          Judiciary Committee, Subcommittee on the Constitution, Federalism, and Property
          Rights, U.S. Senate, Washington, D.C., September 23, 1998.

          “The Gun Industry: The NRA’s Silent Partner,” National Press Briefing, Atlanta, GA,
                                               27
Case 2:23-cv-01130-GRB-ARL Document 21-5 Filed 04/21/23 Page 29 of 52 PageID #: 294




          February 2, 1999.

          “Program Review: SUNY Oswego Political Science Department,” prepared as part of the
          department’s review and assessment process, March 2001.

          Meeting on Executive Order 13233, pertaining to presidential records access, hosted by
          Alberto Gonzales, Office of Legal Counsel, the White House, Washington, D.C.,
          December 7, 2001.

          Article (“Lost and Found: Researching the Second Amendment,” Chicago-Kent Law
          Review. 2000) cited as controlling authority by the U.S. Court of Appeals, Ninth Circuit,
          in the case of Silveira v. Lockyer (312 F.3d 1052; 9th Cir. 2002); 2002 U.S. App. LEXIS
          24612.

          Coauthor, amicus curiae brief in the case of Nordyke v. King, U.S. Court of Appeals,
          Ninth Circuit, 319 F.3d 1185 (2003).

          White House meeting on changing standards regarding FOIA requests, access to
          Executive Branch documents, and presidential library design, hosted by White House
          Counsel Alberto Gonzales and White House Staff Secretary Brett Kavanaugh,
          Washington, D.C., July 17, 2003.

          Invited participant and panelist, “National Research Collaborative Meeting on Firearms
          Violence,” hosted by the Firearm and Injury Center at the University of Pennsylvania,
          and the Joyce Foundation, Philadelphia, PA, June 15-17, 2005.

          Program Review Report, SUNY Geneseo Political Science Department, March, 2009.

          Coauthor with Louis Fisher, amicus curiae brief in the case of Republic ofIraq et al. v.
          Beaty et. ah, U.S. Supreme Court, filed March 25, 2009; case decided June 8, 2009 (556
          U.S. 848; 2009).

          Testimony on bills to enact early voting and other state voting reform measures before
          the New York State Senate Standing Committee on Elections, Syracuse, NY, May 14,
          2009.

          Co-author, amicus brief in the cases of NRA v. City of Chicago and McDonald v.
          Chicago, U.S. Supreme Court, argued March 2, 2010, decided June 28, 2010, 561 U.S.
          742(2010).

          Consultant for plaintiffs in Conservative Party ofNew York and Working Families Party
          v. NYS Board of Elections (10 Civ. 6923 (JSR)), 2010, U.S. District Court for the
          Southern District of New York.
                                                   28
Case 2:23-cv-01130-GRB-ARL Document 21-5 Filed 04/21/23 Page 30 of 52 PageID #: 295




          Co-author, amicus brief in the case of Ezell v. Chicago, U.S. Court of Appeals for the
          Seventh Circuit, 651 F.3d 684 (2011).

          Co-author, amicus brief in the case of People of the State ofIllinois v. Aguilar, IWmois,
          Supreme Court, No. 08 CR 12069, 2012.

          Invited panelist and contributor to conference and report, Institute of Medicine and the
          National Research Council of the National Academies, “Committee on Priorities for a
          Public Health Research Agenda to Reduce the threat of Firearm-Related Violence,”
          National Academies Keck Center, 500 Fifth St., NW, Washington, DC, April 23, 2013.

          “Perspectives on the ‘Stand Your Ground’ Movement,” Testimony submitted to the U.S.
          Senate Committee on the Judiciary, Subcommittee on the Constitution, Civil Rights and
          Human Rights, Hearing on ‘“Stand Your Ground’ Laws: Civil Rights and Public Safety
          Implications of the Expanded Use of Deadly Force,” Washington, D.C., October 29,
          2013.

          Testimony on the Hearing Protection Act to deregulate gun silencers submitted to the
          U.S. House of Representatives Committee on Natural Resources, Subcommittee on
          Federal Lands, for Hearings on the Sportsmen’s Heritage and Recreational Enhancement
          Act (SHARE Act), Washington, D.C., September 12, 2017.

          Expert testimony submitted for the State of Massachusetts, Office of Attorney General, in
          the case of Worman v. Baker, No. l:17-cv-10107-WGY, United States District Court for
          the District of Massachusetts, submitted September 15, 2017, challenging Massachusetts
          state assault weapons restrictions. In 2019 the U.S. Court of Appeals for the First Circuit
          upheld the Massachusetts law (922 F.3d 26).

          Member, Regional Gun Violence Research Consortium Organizing Committee, a Task
          Force organized by NY Governor Andrew Cuomo and the State Department of Education
          to research and investigate the causes of gun violence in a multi-state effort. February
          2018.

          Program Review Report, SUNY New Paltz Political Science and International Relations
          Departments, April 2019.

          Consultant on Facebook policies and actions regarding gun issues, Quonundrums Market
          Research for Facebook, August 17, 2021.

          Several of my publications cited in the case ruling of Duncan v. Bonta, U.S. Court of
          Appeals for the Ninth Circuit, November 30, 2021.

                                                  29
Case 2:23-cv-01130-GRB-ARL Document 21-5 Filed 04/21/23 Page 31 of 52 PageID #: 296




     Papers and Presentations (not including those given on the Cortland campus'):

            "The President as Policy-Maker: The Arenas of Presidential Power from 1954 to 1974,"
            American Political Science Association, Washington, D.C., August 28-31, 1980.

            "The Right-to-Life Movement as a Third Party: The Policy Environment and Movement
            Politics," American Political Science Association, New York City, September 3-6, 1981.
            Reprinted by Rockefeller Institute for Governmental Studies Working Papers, Vol. I, No.
            4, September, 1982.

            "Viable Democracy or the French Fourth Republic: Multi-Party Politics in New York,"
            New York State Political Science Association, Albany, April 6, 1984.

            "The Right-to-Life Movement as Partisan Activity," American Political Science Associa­
            tion, Washington, D.C., August 30 - September 2, 1984.

            "Biting the Bullet: Gun Control and Social Regulation," American Political Science
            Association, New Orleans, La., August 29 - September 1, 1985.

            "The Presidential Veto," Northeastern Political Science Association, Boston, MA,
            November 13-15, 1986.

            "Perspectives on the Presidential Veto Power: Antecedents and Evolution," Bicentennial
            Conference on the Presidency, co-sponsored by the Center for the Study of the
            Presidency, the Chautauqua Institution and Gannon University, Erie, PA, April 24-26,
            1987.

            "The Transformation of a Kingly Power: The Presidential Veto, Past and Present,"
            American Political Science Association, Chicago, IL, September 3-6, 1987.

            "The Pocket Veto: Expanding Presidential Prerogatives Through the Back Door,"
            American Political Science Association, Washington, D.C., September 1-4, 1988.

            "Liberalism and Juridical Democracy; or What’s Interesting About Interest Group
            Liberalism," Western Political Science Association, Newport Beach, CA., March 22-24,
            1990.

            "Separation of Powers and the War Power," presentation sponsored by the Federalist
            Society, Cornell University School of Law, April 20, 1990.

            "Is the Separation of Powers Obsolete? An Inquiry into Critiques of the Congressional-
            Presidential Balance of Power," American Political Science Association, Washington,
                                                   30
Case 2:23-cv-01130-GRB-ARL Document 21-5 Filed 04/21/23 Page 32 of 52 PageID #: 297




          D.C., August 29-September 1, 1991.

          "Hate Speech and the College Campus," conference on Two Hundred Years of Free
          Expression, SUNY Oneonta, October 2-3, 1992.

          "From Presidential Shield to 'Go Ahead, Make My Day': The Presidential Veto and the
          Constitutional Balance of Power," featured paper presenter for Fall 1992 Symposium on
          American Constitutionalism, Southwest Texas State University, San Marcos, TX,
          October 30, 1992.

          "The Reagan Presidency and the Veto Power: Symbols and Actions of the 'Make-My-
          Day' President," Southern Political Science Association, Savannah, GA, November 3-6,
          1993.

          "Tenure, Speech, and the Jeffries Case: A Functional Analysis," conference on academic
          Freedom and Tenure, sponsored by New York City Bar Association and Pace University
          Law School, New York City, March 8, 1994.

          "'It's My Constitution, and I'll Cry If I Want To': Constitutional Dialogue, Interpretation,
          and Whim in the Inherent Item Veto Dispute," American Political Science Association,
          Chicago, August 31-September 3, 1995. Winner, 1996 Presidency Research Group
          Founders’ Award for Best Paper on the Presidency presented at the 1995 APS A. Paper
          received mention in the Washington Post, September 24, 1995.

          "Guns and Violence," presentation before Bryn Mawr Presbyterian Church Task Force on
          Violence, Bryn Mawr, PA, October 8, 1995.

          "Guns, Militias, and the Constitution," Distinguished Lecture Series, Utica College, Utica
          NY, March 26,1996.

          "The Right to Bear Arms: A Constitutional and Criminological Analysis of Gun
          Control," the Cornell University School of Law, October 8, 1996.

          "The Veto King: The 'Dr. No' Presidency of George Bush," Conference on the
          Presidency of George Bush, Hofstra University, Hempstead, NY, April 17-19, 1997.

          "Saving the Constitution from Lawyers," American Political Science Association,
          Washington, D.C., August 28-31, 1997.

          “Revolution, the Second Amendment, and Charlton Heston,” Gettysburg College,
          Gettysburg, PA, October 30, 1997.

          “Recent Developments in The Politics of Gun Control.” Gettysburg College, Gettysburg,
                                                31
Case 2:23-cv-01130-GRB-ARL Document 21-5 Filed 04/21/23 Page 33 of 52 PageID #: 298




          PA, November 10, 1998.

          “The Second Amendment, Disarmament, and Arms Control,” Communitarian Summit,
          the Washington National Airport Hilton, Arlington, VA, February 27-28, 1999.

          “The Argument Against Clinton’s Impeachment,” Hyde Park Session, American Political
          Science Association, Atlanta, September 2-5, 1999.

          “Gun Politics After Littleton,” Gettysburg College, Gettysburg, PA, November 9, 1999.

          “Lost and Found: Researching the Second Amendment,” Symposium on “The Second
          Amendment: Fresh Looks,” Chicago-Kent Law School and the Joyce Foundation,
          Chicago, April 28, 2000.

          “The Independent Counsel and the Presidency After Clinton,” American Political Science
          Association, Washington, D.C., August 31-September 3, 2000.

          “From Columbine to Santee: Gun Control in the 21st Century,” Idaho State University,
          Pocatello, Idaho, April 19, 2001.

          “Gun Control in the New Millennium,” Gettysburg College, Gettysburg, PA, November
          13.2001.

          “Gun Rights for Terrorists? Gun Control and the Bush Presidency,” A Presidency
          Transformed By Crises: The George W. Bush Presidency, SUNY Fredonia, NY, October
          17-18, 2002.

          “Gun Control and the Bush Presidency,” Gettysburg College, Gettysburg, PA, November
          21.2002.

          “The Ashcroft Justice Department and the Second Amendment,” American Bar
          Association Annual Meeting, San Francisco, August 8-11, 2003.

          “The Bush Presidency and 9/11,” Keynote Address, Conference on 9/11, Cazenovia
          College, NY, September 11, 2003.

          “Report of the National Task Force on Presidential Communication to Congress,” co­
          author, Tenth Annual Texas A&M Conference on Presidential Rhetoric, George Bush
          Presidential Library and Conference Center, College Station, TX, March 4-7, 2004.

          “Don’t Know Much About History, Politics, or Law: Comment,” Conference on The
          Second Amendment and the Future of Gun Regulation, co-sponsored by the Fordham
          School of Law, the Second Amendment Research Center, and the John Glenn Institute
                                              32
Case 2:23-cv-01130-GRB-ARL Document 21-5 Filed 04/21/23 Page 34 of 52 PageID #: 299




          for Public Service and Public Policy of the Ohio State University, April 13, 2004, New
          York City.

          “Bush vs. Kerry: Election of the Century?” Colgate University, Hamilton, NY, October
          20, 2004.

          “The Commander-in-Chief Power and Constitutional Invention in the Bush
          Administration,” a paper presented at a Conference on “Is the Presidency Dangerous to
          Democracy?”, Loyola Marymount University, Los Angeles, CA, February 7, 2005.

          Participant, “The Wheler Family Address on International Relations,” Academic
          Conference on World Affairs, Cazenovia College, Cazenovia, NY, September 9, 2005.

          “What Ever Happened to Gun Control?”, Gettysburg College, Gettysburg, PA, November
          1,2005.

          “Clinton and Gun Control: Boon or Bane?” a paper presented at the 11th Presidential
          Conference on William Jefferson Clinton, Hofstra University, Hempstead, NY,
          November 10-12, 2005.

          “George W. Bush and the Unitary Executive,” Keynote Address for “Quest,” SUNY
          Oswego Scholars Day, April 19, 2006.

          “Resolving Conflict with Intractable Foes: The Lessons of International Relations
          Theory Applied to the Modem Gun Control Debate,” Bryant University, Smithfield, RI,
          April 24, 2006.

          “The Unitary Executive and the Commander-in-Chief Power,” Conference on
          Presidential Power in America: The Constitution, the Defense of a Nation and the
          National Ethos, Massachusetts School of Law Conference Series, Andover, MA, October
          14-15, 2006.

          “The 2006 Elections,” LeMoyne College, Syracuse, NY, November 29, 2006.

          “In Wartime, Who Has the Power?” Symposium on Presidential Power and the Challenge
          to Democracy, Idaho State University, Pocatello, ID, April 26, 2007.

          “Saul Cornell’s Second Amendment: Why History Matters,” Conference on Firearms, the
          Militia and Safe Cities: Merging History, Constitutional Law, and Public Policy, Albany
          Law School, Albany, NY, October 18-19, 2007.

          “Gun Control and the 2008 Elections,” Third Annual Harry F. Guggenheim Symposium
          on Crime in America, John Jay College, New York City, December 3-4, 2007.
                                                33
Case 2:23-cv-01130-GRB-ARL Document 21-5 Filed 04/21/23 Page 35 of 52 PageID #: 300




          “The Post-Cold War Vice Presidency,” Cornell Adult University, Cornell University,
          Ithaca, NY, July 31, 2008.

          “Is the Presidency Constitutional?” Roundtable panel on Restoring the Constitutional
          Presidency, APSA, Boston, August 28-31, 2008.

          “The Future of the American Presidency,” Board of the Bristol Statehouse, Bristol, RI,
          November 30, 2008.

          “Is the Constitutional Presidency Obsolete? The Future of the American Presidency,”
          Symposium on The Future of the American Presidency, Regent University, Virginia
          Beach, VA, February 6, 2009.

          “The Failure of the Pro-Gun Control Movement,” SUNY Oneonta, March 19, 2009.

          “The Post-Bush Presidency and the Constitutional Order,” American Political Science
          Association, Toronto, Canada, September 3-6, 2009.

          “Inventing Gun Rights: The Supreme Court, the Second Amendment, and Incorporation,”
          SUNY Geneseo, March 24, 2010.

          “Intelligence Don’t Matter,” Keynote Address to Phi Kappa Phi Induction Ceremony,
          SUNY Cortland, April 17, 2010.

          “The Law and Politics of Gun Control after Tucson,” 6th Annual Harry Frank
          Guggenheim Symposium on Crime in America, conference on “Law and Disorder:
          Facing the Legal and Economic Challenges to American Criminal Justice,” John Jay
          College of Criminal Justice, CUNY, New York City, January 31-February 1, 2011.

          “Looking Ahead to the 2012 Elections,” Tompkins County Democratic Committee,
          Ithaca, NY, August 7, 2011.

          “Growing Executive Power: The Strange Case of the ‘Protective Return’ Pocket Veto,”
          American Political Science Association, Seattle, WA, September 1-4, 2011.

          “Gun Control and the Second Amendment,” OASIS Conference, Syracuse, NY, October
          3,2011

          “Comparing the Constitutional Presidencies of George W. Bush and Barack Obama: War
          Powers, Signing Statements, Vetoes,” conference on “Change in the White House?
          Comparing the Presidencies of George W. Bush and Barack Obama,” Hofstra University,
          Hempstead, NY, April 19, 2012.
                                                34
Case 2:23-cv-01130-GRB-ARL Document 21-5 Filed 04/21/23 Page 36 of 52 PageID #: 301




           “Watergate After 40 Years: Dick Cheney’s Revenge,” American Political Science
           Association, New Orleans, LA, August 30-September 2, 2012.

           “The Media, American Elections, and Democracy,” OASIS, Syracuse, NY, October 22,
           2012.

           “Hot Button Issues in the 2012 Presidential Campaign,” Hiram College Conference on
           the 2012 Elections, Hiram, Ohio, November 15-17, 2012.

           “Gun Legislation and Obstacles to Effective Gun Control,” Metropolitan Black Bar
           Association, New York City Bar Association, November 29, 2012.

           “Guns and America,” Syracuse University, Syracuse, NY, February 19, 2013.

           “The Constitution Between Opponents,” conference on “The State of the Presidency,”
           Andrus Center for Public Policy, Boise State University, Boise, ID, February 28, 2013.

           “Gun Policy at a Crossroads,” Thursday Morning Roundtable, Syracuse, NY, March 7,
           2013.

           “Gun Policy Cycles and History,” Pediatric Grand Rounds at the Upstate Golisano
           Children’s Hospital, Syracuse, NY, March 13, 2013.

           “Gun Law and the Constitution,” Monroe County Bar Association, Rochester, NY,
           March 21, 2013.

           “The Architecture of the Gun Control Debate,” Goldfarb Center for Public Affairs, Colby
           College, Waterville, ME, April 2, 2013.

           “The Campbell Debates: This Assembly Supports the NY SAFE Act,” Syracuse
           University, April 5, 2013.

           “What has Sandy Hook Changed? The Evolving Gun Debate,” Reisman Lecture Series,
           Cazenovia College, Cazenovia, NY, April 17, 2013.

           “Gun Policy Change: Infringing Rights, or Following History?” Jefferson Community
           College, Watertown, NY, April 18, 2013.

           “Under the Gun,” Conference on “Gun Violence, Gun Laws, and the Media,” Center on
           Media, Crime and Justice, John Jay College of Criminal Justice, New York, May 14-15,
           2013.

                                                  35
Case 2:23-cv-01130-GRB-ARL Document 21-5 Filed 04/21/23 Page 37 of 52 PageID #: 302




          “Five Myths of the Gun Debate,” Lawman of the Year, Cortland County Lawman
          Committee, Cortland, NY, May 20, 2013.

          “Gun Law History,” Sterling Historical Society, Sterling, NY, June 27, 2013.

          “Analyzing the New York SAFE Act,” League of Women Voters Forum, Cortland, NY,
          September 12, 2013.

          “Constitution Day, the Second Amendment, and Guns,” OASIS, Syracuse, NY,
          September 16, 2013.

          “The Second Amendment and Guns in America,” Values, Arts, and Ideas Series
          Constitution Day Speaker, Manchester University, North Manchester, Indiana, September
          17, 2013.

          “Live By History, Die By History: The Second Amendment, Heller, and Gun Policy,”
          Georgetown University, Washington, DC, October 18, 2013.

          “American Gun Policy,” “Gun Violence: A Comparative Perspective,” and “American
          History and Foreign Policy, 1960-1990,” King’s College, London, England; Southbank
          Centre, “Superpower Weekend,” November 8-11, 2013.

          “Gun Politics and the Electoral Process,” Oneida County Women’s Democratic Club and
          County Committee, Utica, NY, November 17, 2013.

          “The Second Amendment and the Hidden History of Gun Laws,” Institute for Legislative
          Studies, University of North Carolina, Greensboro, NC, November 20-21, 2013.

          “The Future of Gun Regulation After Newtown,” Fordham University, New York, NY,
          January 21, 2014.

          “The 2014 Elections: The End of the Obama Era?” 22nd Annual Chautauqua, Homer, NY,
          August 3, 2014.

          “New York State and the NY SAFE Act: A Case Study in Strict Gun Laws,” conference
          on “A Loaded Debate: The Right to Keep and Bear Arms in the 21st Century,” Albany
          Law School, Albany, NY, October 9, 2014.

          “Is Gun Control Un-American or at Least Unconstitutional?” Temple Concord, Syracuse,
          NY, October 14, 2014.

          “The American Gun Debate is Under Water,” TEDxCortland Talk, Hathaway House,
          Solon, NY, October 25, 2014.
                                             36
Case 2:23-cv-01130-GRB-ARL Document 21-5 Filed 04/21/23 Page 38 of 52 PageID #: 303




           “The Unitary Executive and the Bush Presidency,” Conference on the Presidency of
           George W. Bush,” Hofstra University, Hempstead, NY, March 24-26, 2015.

           “Assessing the Obama Presidency,” Western Political Science Association, Las Vegas,
           NV, April 1-3, 2015.

           “Gun Laws, Gun Policies, and the Second Amendment,” Central New York Council of
           the Social Studies Professional Development Day Conference, Carnegie Conference
           Center, Syracuse, NY, October 20, 2015.

           “The 2016 Elections,” The Cornell Club of Cortland County, November 17, 2015,
           Cortland, NY.

           “Gun Law History in the U.S. and Second Amendment Rights,” Conference on The
           Second Amendment: Legal and Policy Issues, New York University Law School and the
           Brennan Center for Justice, New York City, April 8, 2016.

           “The Presidential Elections,” The Century Club, June 7, 2016, Syracuse, NY.

           “The 2016 Elections,” Chautauqua, August 3, 2016, Homer, NY.

           “The 2016 Elections” Cortland Rotary, Cortland, N.Y. September 20, 2016.

           “The 2016 Elections,” Cortland Community Roundtable, October 6, 2016.

           “TrumPocalypse 2016,” Finger Lakes Forum, Geneva, N.Y., October 16, 2016.

           “The 2016 Elections,” Homer Congregational Church, Homer, N.Y., October 30, 2016.

           “Had Enough? Only Five More Days,” OASIS, November 3, 2016, Syracuse, N.Y.

           “Guns for Everyone?” OASIS, November 14, 2016, Syracuse, N.Y.

          “Sizing Up the Trump Presidency,” Cortland County Democratic Party, June 1, 2017.

          “Understanding Impeachment,” Ladies Literary Society, Lafayette, NY, June 7, 2017.

          “Guns Across America,” Ithaca College, Ithaca, NY, September 21, 2017.

          Guest panelist, “Gun Studies Symposium,” University of Arizona, Tucson, AZ, October
          20, 2017.

                                                 37
Case 2:23-cv-01130-GRB-ARL Document 21-5 Filed 04/21/23 Page 39 of 52 PageID #: 304




          “Gun Policy and Schools After Parkland,” SUNY Student Assembly Annual Conference,
          Syracuse, NY, April 7, 2018.

          “Gun Laws, History, and the Second Amendment: What Does the Constitution Allow?”
          Clemson University, SC, April 17, 2018.

          “Gun Violence and the History of Gun Laws,” League of Women Voters of Tompkins
          County, Ithaca, NY, May 23, 2018.

          “The Unknown History of Gun Laws in America,” Madison-Chenango Call to Action,
          Hamilton, NY, June 20, 2018.

          “It’s All Academic: The Meaning of the Second Amendment Versus Heller,” Conference
          on “The Second Amendment: Its Meaning and Implications in Modem America,”
          Lincoln Memorial University School of Law, Knoxville, TN, January 18, 2019.

          “Mulling Over the Mueller Report,” Indivisible Cortland County, Homer, NY, June 15,
          2019.

          “Gun Accessories and the Second Amendment: Assault Weapons, Magazines, and
          Silencers,” Symposium on Gun Rights and Regulation Outside the Home, Duke
          University, Durham, NC, September 27, 2019.

          “Gun Policy 101: What Policymakers and the Public Need to Know,” Rockefeller
          Institute of Government, Albany, NY, October 1, 2019.

          Guest expert, Federalist Society Teleforum on New York State Rifle and Pistol
          Association v. NYC, November 22, 2019.

          “To Brandish or Not to Brandish: The Consequences of Gun Display,” Duke University
          Law School Conference on Historical Gun Laws, June 19, 2020 (virtual).

          “The 2020 Elections,” Cortland Country Club, October 14, 2020.

          Panelist, “Gun Law, Politics, and Policy,” Midwest Political Science Association,
          Chicago, April 14-17, 2021 (virtual).

          “Gun Violence,” Beaches Watch, Florida, August 4, 2021 (virtual).

          “Challenging Conversations: Gun Control,” Lockdown University (virtual), April 5,
          2022.

          “Scholars’ Circle: Gun Control,” June 30, 2022 (virtual).
                                                 38
Case 2:23-cv-01130-GRB-ARL Document 21-5 Filed 04/21/23 Page 40 of 52 PageID #: 305




           “Gun Rules and Regulations,” Clubhouse AverPoint, July 2, 2022 (virtual).

           “A Nation in Crisis: Are Guns the Problem?” Center for Ethics and Human Values’ Civil
           Discourse Forum, The Ohio State University, Columbus, OH, September 23, 2022.

           “Explaining the 2022 Midterm Elections,” OSHER Lifelong Learning Institute at the
           College of William and Mary, Williamsburg, Va., October 13, 2022.

           “The Gun Rights 2.0 Movement: Public Policy Consequences,” 2022 National Research
           Conference on Firearm Injury Prevention, Omni Shoreham Hotel, Washington, D.C.,
           November 29-December 1, 2022.


           Panel Participation:

           Discussant, "Historical Transformations of Political Institutions in the U.S.," Social
           Science History Association, Rochester, N.Y., November 7-9, 1980.

           Chair, "The Political Economy of Single Issue Movements," 1981 American Political
           Science Association, New York City, September 3-6.

           Discussant, "New York Republicans: An Emerging Majority Party?", New York State
           Political Science Association, Albany, N.Y., April 2-3, 1982.

           Round table panel member, "Perspectives on the Reagan Administration," New York
           State Political Science Association, New York, N.Y., April 8-9, 1983.

           Discussant, "Toward a Theory of the Chief Executive," 1983 American Political Science
           Association, Chicago, 111., September 1-4, 1983.

           Chair and Discussant, "Political Parties and Party Organization," 1984 American Political
           Science Association, Washington, D.C., August 30 - September 2, 1984.

           Discussant, "Reforming the Presidential Selection Process,” New York State Political
           Science Association, New York, N.Y., April 25-26, 1985.

           Chair, "Theoretical Approaches to Policy Concerns," American Political Science
           Association, New Orleans, La., August 29 - September 1, 1985.

           Discussant, "Perspectives on Presidential Influence," American Political Science
           Association, New Orleans, La., August 29 - September 1, 1985.

                                                    39
Case 2:23-cv-01130-GRB-ARL Document 21-5 Filed 04/21/23 Page 41 of 52 PageID #: 306




           Discussant, "The Item Veto," American Political Science Association, New Orleans, La.,
           August 29 - September 1, 1985.

           Chair, "Mobilizing Interests on National Policies," American Political Science
           Association, Washington, D.C., August 28-31, 1986.

           Discussant, "The News Media and American Politics," American Political Science
           Association, Washington, D.C., August 28-31, 1986.

           Chair, "Perspectives on the Bicentennial of the U.S. Constitution," New York State
           Political Science Association, New York City, April 3-4, 1987.

           Discussant, "The Presidency in Comparative Perspective," and "Media and Models of
           Public Policy-Making," American Political Science Association, Atlanta, Aug. 31 - Sept.
           3, 1989.

           Discussant, "Presidents and Economic Interests," American Political Science
           Association, Washington, D.C., August 29 - September 1, 1991.

           Panel Chair, "The Presidential Role in Policy Making," American Political Science
           Association, Chicago, September 3-6,1992.

           Discussant, "Presidential Influence on Congress," American Political Science
           Association, Washington, D.C., September 2-5, 1993.

           Discussant, "Bureaucratic Politics," Southern Political Science Association, November 3-
           6, 1993.

           Discussant, "The President's Extra-Constitutional Power," American Political Science
           Association, New York City, September 1-4, 1994.

           Discussant, "Roundtable on the President and Congress in a Republican Age," Western
           Political Science Association, San Francisco, March 14-16, 1996.

           Chair, "Militias, the Second Amendment, and the State: Constitutional, Social, and
           Historical Implications," American Political Science Association, San Francisco, August
           29-September 1, 1996.

           Chair, "Roundtable on Teaching the Presidency," American Political Science
           Association, August 29-September 1, 1996.

           Chair, "The Constitutionalism and Presidentialism of Louis Fisher," American Political
           Science Association, Washington, D.C., August 28-31, 1997.
                                                  40
Case 2:23-cv-01130-GRB-ARL Document 21-5 Filed 04/21/23 Page 42 of 52 PageID #: 307




          Chair, “The President as Legislative Leader,” American Political Science Association,
          Boston, September 3-6, 1998.

          Chair, Roundtable on “Memo to the President,” American Political Science Association,
          Atlanta, September 2-5, 1999.

          Discussant, “Firearms in the U.S.,” Midwest Political Science Association, Chicago,
          April 27-30, 2000.

          Chair and discussant, Roundtable on “Is the Presidency Changed?” APSA, San
          Francisco, August 30-September 2, 2001.

          Chair and discussant, “Presidential Use of Strategic Tools,” APSA, Boston, August 29 -
          Sept. 1, 2002.

          Discussant, “Executing the Constitution,” APSA, Boston, August 29 - Sept. 1, 2002.

          Chair, “Marketing the President,” APSA, Philadelphia, August 28-31, 2003.

          Discussant, “Media Coverage of the Presidency,” APSA, Philadelphia, August 28-31,
          2003.

          Chair and discussant, “Does Presidential Leadership in Foreign Policy Matter?” APSA,
          Chicago, September 2-5, 2004.

          Roundtable member, “The Ins and Outs of Obtaining a Book Contract,” APSA, Chicago,
          September 2-5, 2004.

          Discussant, “Presidential Power: Lessons From the Past,” APSA, Washington, D.C.,
          September 1-4, 2005.

          Chair and Discussant, “The Unitary Executive in a Separated System,” APSA,
          Philadelphia, August 31-September 3, 2006.

          Panel chair, “The Culpability of Congress,” Conference on Presidential Power in
          America: The Constitution, the Defense of a Nation and the National Ethos,
          Massachusetts School of Law Conference Series, Andover, MA, October 14-15, 2006.

          Panel chair, “Keeping the Modem Presidency in Check and Balance,” APSA, Chicago,
          August 30-September 2, 2007.

          Discussant, “Presidential Endings: George W. Bush and the Final Two Years,” APSA,
                                                 41
Case 2:23-cv-01130-GRB-ARL Document 21-5 Filed 04/21/23 Page 43 of 52 PageID #: 308




           Chicago, August 30-September 2, 2007.

           Discussant, “Staffing and Decisionmaking in the White House,” APSA, Boston, August
           28-31,2008.

           Panel Chair, “Early Assessments of the Obama Presidency,” APSA, Washington, D.C.,
           September 2-5, 2010.

           Discussant, “Historical Perspectives on the Presidency,” APSA, Chicago, August 29-
           Sept. 1, 2013.

           Discussant, “Politics and Presidential Travel,” APSA, Washington, D.C., August 27-31,
           2014.

           Discussant, “The Obama Presidency and Constitutional Law,” APSA, San Francisco,
           Sept. 3-6, 2015.

           Discussant, “Presidents, the Courts and the Law,” APSA, Philadelphia, Sept. 1-4, 2016.

           Discussant, “Executive Power and Democratic Functioning in the Trump Era,” APSA,
           Boston, MA, August 30-September 2, 2018.

           Panel chair, “Assessing the Presidency of Donald Trump,” APSA, Washington, DC,
           August 29-September 1, 2019.

           Roundtable, “Gun Law, Politics, and Policy,” Midwest Political Science Association,
           April 17, 2021 (virtual).

           Roundtable, “Guns and the Political Moment: Political Violence, Self-Defense, and
           Reckoning with Race,” Midwest Political Science Association, Chicago, April 7, 2022.


     Book Reviews:

           The American Presidency, by Richard M. Pious, reviewed in The Journal of Politics.
           November, 1979.

           The Politics of Mistrust, by Aaron Wildavsky and Ellen Tenenbaum, reviewed in
           Administrative Science Quarterly. December, 1981.

           Review essay, The President as Policymaker, by Laurence E. Lynn and David DeF.
           Whitman, review essay in Administrative Science Quarterly. March, 1982.

                                                  42
Case 2:23-cv-01130-GRB-ARL Document 21-5 Filed 04/21/23 Page 44 of 52 PageID #: 309




           PL94-142: An Act of Congress, by Erwin L. Levine and Elizabeth M. Wexler, reviewed
           in the American Political Science Review. June, 1982.

           Pure Politics and Impure Science, by Arthur M. Silverstein, reviewed in Administrative
           Science Quarterly. June, 1984.

           Review essay, The President's Agenda, by Paul Light, reviewed in Administrative
           Science Quarterly. September, 1984.

          The Evolution of American Electoral Systems, by Paul Kleppner, et al., reviewed in the
          American Political Science Review. December, 1983.

          A Case of Third Party Activism, by James Canfield, reviewed in Perspective. July-
          August, 1984.

          Winners and Losers: Campaigns. Candidates and Congressional Elections, by Stuart
          Rothenberg, reviewed in the American Political Science Review. December, 1984.

          The Political Presidency, by Barbara Kellerman, reviewed in Perspective. January-
          February, 1985.

          Presidents and Promises, by Jeff Fishel, reviewed in the American Political Science
          Review. December, 1985.

          The Elections of 1984. ed. by Michael Nelson, reviewed in Perspective. May/June, 1985.

          Economic Conditions and Electoral Outcomes, by Heinz Eulau and Michael S. Lewis-
          Beck, reviewed in Perspective. May/June, 1986.

          Presidential Transitions: Eisenhower Through Reagan, by Carl M. Brauer, in
          Perspective, January/February, 1987.

          Religion and Politics in the United States, by Kenneth D. Wald, in Journal for the
          Scientific Study of Religion, September, 1988.

          Abortion and Divorce in Western Law, by Mary Ann Glendon, in The Annals of the
          American Academy of Political and Social Science. September, 1988.

          The American Political Economy, by Douglas Hibbs, in Perspective. Spring, 1988.

          God in the White House, by Richard G. Hutcheson, Jr., in Perspective. Fall, 1988.

          The Reagan Legacy, Charles O. Jones, ed., in Social Science Quarterly. June, 1989.
                                                43
Case 2:23-cv-01130-GRB-ARL Document 21-5 Filed 04/21/23 Page 45 of 52 PageID #: 310




          Dilemmas of Presidential Leadership From Washington Through Lincoln by Richard
          Ellis and Aaron Wildavsky, in Perspective. September, 1989.

          Taming the Prince by Harvey Mansfield, Jr., in Governance. April, 1990.

          Public Policy and Transit System Management, ed. by George M. Guess, in Perspective.
          Spring, 1991.

          The Myth of Scientific Public Policy, by Robert Formaini, in Perspective. Winter, 1992.

          The Bush Presidency: First Appraisals, ed. by Colin Campbell and Bert Rockman in
          Public Administration Review. May/June, 1992.

          The Illusion of a Conservative Reagan Revolution, by Larry Schwab, in Policy Currents.
          May, 1992.

          The Vital South: How Presidents Are Elected, by Earl Black and Merle Black, in
          Perspective. Fall, 1993.

          The Presidential Pulse of Congressional Elections, by James E. Campbell, in The Journal
          of American History. March, 1995.

          Out of Order, by Thomas Patterson, in Presidential Studies Quarterly. Summer, 1994.

          Congress, the President, and Policymaking, by Jean Schroedel, in the American Political
          Science Review. December, 1994.

          The President and the Parties, by Sidney Milkis, in Governance. January 1995.

          The Myth of the Modem Presidency, by David K. Nichols, PRG Report. Spring, 1995.

          The End of the Republican Era, by Theodore Lowi, The Journal of American History.
          December, 1995.

          Strategic Disagreement: Stalemate in American Politics by John B. Gilmour, in
          Governance (9), 1996.

          Rivals For Power: Presidential-Congressional Relations, by James Thurber, in American
          Political Science Review. March, 1997.

          American Presidential Elections, ed. by Harvey Schantz, in Perspectives. Spring 1997.

                                                 44
Case 2:23-cv-01130-GRB-ARL Document 21-5 Filed 04/21/23 Page 46 of 52 PageID #: 311




           The Power of Separation by Jessica Korn, in Congress & the Presidency. Spring 1997.

           Strong Presidents by Philip Abbott, in Perspective. Fall 1997.

           Other People’s Money: Policy Change. Congress, and Bank Regulation, by Jeffrey
           Worsham, in Perspectives. Spring 1998.

           A Third Choice, in Journal of American History. December 1998.

           Politics. Power and Policy Making: The Case of Health Care Reform in the 1990s. by
           Mark Rushefsky and Kant Patel in Perspectives. Winter 1999.

           The Paradoxes of the American Presidency, by Thomas Cronin and Michael Genovese,
           for the American Political Science Review. March 1999.

           Republic of Denial, by Michael Janeway, for Perspectives. Spring 2000.

           The Art of Political Warfare, by John Pitney, Rhetoric and Public Affairs. Summer 2001.

           Arming America, by Michael Bellesiles, Congress Monthly. January/February 2002.

           Gun Violence in America by Alexander DeConde, Law and Politics Book Review.
           August 2001; also in Historynewsnetwork.org, 8/01.

          Presidents as Candidates, by Kathryn D. Tenpas, in Rhetoric and Public Affairs. Spring
          2002.

           The Trouble With Government, by Derek Bok, Perspectives. Spring 2002.

          King of the Mountain, by Arnold M. Ludwig, Rhetoric and Public Affairs. Winter 2002.

          Power, the Presidency, and the Preamble, by Robert M. Saunders, Presidential Studies
          Quarterly. December 2002.

          Presidents. Parliaments, and Policy, ed. by Stephen Haggard and Mathew McCubbins,
          Perspectives. Winter 2003.

          The Modem American Presidency, by Lewis L. Gould, Rhetoric and Public Affairs.

          Watergate: The Presidential Scandal that Shook America, by Keith W. Olson,
          Perspectives. Summer 2003.

          The Militia and the Right to Arms, or. How the Second Amendment Fell Silent, by H.
                                                  45
Case 2:23-cv-01130-GRB-ARL Document 21-5 Filed 04/21/23 Page 47 of 52 PageID #: 312




          Richard Uviller and William G. Merkel, Journal of American History. March 2004.

          Power Without Persuasion: The Politics of Direct Presidential Action, by William G.
          Howell, Perspectives on Politics. June 2004.

          The George W. Bush Presidency: An Early Assessment, ed. By Fred Greenstein,
          Perspectives. Spring 2004.

          The Invention of the United States Senate, by Daniel Wirls and Stephen Wirls,
          Perspectives. Summer 2004.

          The Mythic Meanings of the Second Amendment, by David C. Williams, Law and
          Politics Book Review. April 2004.

          Empowering the White House, by Karen M. Hult and Charles E. Walcott, Rhetoric and
          Public Affairs. Fall 2005.

          Defining Americans: The Presidency and National Identity, by Mary E. Stuckey,
          Perspectives. Spring 2005.

          Presidential Leadership: Rating the Best and Worst in the White House, ed. By James
          Taranto and Leonard Leo, Rhetoric and Public Affairs. Summer 2006.

          A Well-Regulated Militia: The Founding Fathers and the Origins of Gun Control in
          America, by Saul Cornell, American Journal of Legal History. October 2006.

          The Founders’ Second Amendment: Origins of the Right to Bear Arms, by Stephen
          Halbrook, Law and Politics Book Review 18(October 2008).

          Out of the Shadow: George H.W. Bush and the End of the Cold War, by Christopher
          Maynard, Journal of American History (September 2009).

          Guns, Democracy, and the Insurrectionist Idea, by Joshua Horwitz, Law and Politics
          Book Review 19(June 2009).

          Talking Together, by Lawrence Jacobs, Fay Lomax Cook, and Michael Delli Carpini,
          dailykos.com, posted June 20, 2009, with Glenn Altschuler.

          Accidental Presidents, by Philip Abbott, Presidential Studies Quarterly. June 2010.

          The Co-Presidency of Bush and Cheney, by Shirley Anne Warshaw, Congress and the
          Presidency. 2010.

                                                  46
Case 2:23-cv-01130-GRB-ARL Document 21-5 Filed 04/21/23 Page 48 of 52 PageID #: 313




           Crisis and Command: The History of Executive Power from George Washington to
           George W. Bush, by John Yoo, Presidential Studies Quarterly (December 2010).

           Declaring War: Congress, the President, and What the Constitution Does Not Sav. by
           Brien Hallett, Law and Politics Book Review 22(November 2012).

           Congress vs. the Bureaucracy: Muzzling Agency Public Relations, by Mordecai Lee, The
           Journal of American History (December 2012).

          Arming and Disarming, by R. Blake Brown, Law and History Review (November 2013).

          Reclaiming Accountability: Transparency. Executive Power, and the U.S. Constitution.
          by Heidi Kitrosser, Congress and the Presidency 42(2015).

          The Six-Shooter State: Public and Private Violence in American Politics by Jonathan
          Obert and The Lives of Guns ed. by Jonathan Obert, Andrew Poe and Austin Sarat,
          Perspectives on Politics 17(September 2019).

          The Toughest Gun Law in the Nation by James B. Jacobs and Zoe Fuhr, Criminal Law
          and Criminal Justice Books. March 2020.

          Warped Narratives: Distortion in the Framing of Gun Policy by Melissa K. Merry,
          Perspectives on Politics 18(September 2020).

          The Uses and Misuses of Politics: Karl Rove and the Bush Presidency by William G.
          Mayer, Presidential Studies Quarterly (December 2022).


    Selected Media Appearances/Quotations:

          NBC’s “Today Show”; ABC’s “Good Morning America” and “Network Nightly News”;
          PBS’s “News Hour”; CNN’s “Lou Dobbs,” “NewsStand,” “CNN & Co.” CNN’s HLN,
          and “Insight”; CNBC’s “Upfront Tonight”; MSNBC’s “Countdown with Keith
          Olbermann,” “All In With Chris Hayes,” “Ali Velshi,” “Fresh Air With Terry Gross,”
          “The Diane Rehm Show,” 1A with Joshua Johnson, NPR; NHK Television (Japan);
          CGTN (China), documentary films “Guns and Mothers” (PBS, 2003), “Under the Gun”
          (Katie Couric Film Company, Epix, 2016), “The Price of Freedom” (Flatbush
          Pictures/Tribeca Films, 2021). Quoted in or by the New York Times, the Washington
          Post Time Magazine. Newsweek. Per Spiegel (Germany), USA Today, the Los Angeles
          Times, the Wall Street Journal, the Christian Science Monitor, the Boston Globe, the
          Chicago Tribune, the Philadelphia Inquirer, the Miami Herald. Houston Chronicle, the St.
          Louis Post-Dispatch. San Francisco Chronicle, the Dallas Morning News, the Baltimore
          Sun, the Detroit Free Press, the Seattle Post-Intelligencer. Newsdav. the Denver Post.
                                                   47
Case 2:23-cv-01130-GRB-ARL Document 21-5 Filed 04/21/23 Page 49 of 52 PageID #: 314




            Kansas City Star. Dallas News. Pittsburgh Post-Gazette. New Orleans Times Picayune.
            Orlando Sentinel. Columbus Dispatch. Buffalo News. San Jose Mercury News. Albany
            Times-Union. St. Petersburg Times. Arkansas Democrat-Gazette. Newark Star-Ledger.
            Bergen Record. Congress Daily. The Hill. CO Report. Rolling Stone. The Nation. Ladies
            Home Journal, the National Journal. The Spectator. Legal Times. Financial Times.
            Toronto Globe, al Jazeera, Reuters, Bloomberg News, Knight Ridder, AP, Gannett,
            Newhouse, Scripps Howard, McClatchy, Hearst, the BBC (Britain), CBC (Canada), the
            Voice of America, Radio Free Europe, ABC News Online, Fox News Online, National
            Public Radio, CBS Radio, media outlets in South Korea, India, Brazil, Denmark, Spain,
            France, Norway, Germany.

            Regular panelist on “The Ivory Tower,” a weekly public affairs program broadcast on
            WCNY-TV, Syracuse, NY, from 2002-2021. A half hour discussion of the week’s events
            conducted by five academics from area colleges.


     Professional Associations:

            Scholars Strategy Network.
            American Political Science Association.
            Center for the Study of the Presidency.
            Presidents and Executive Politics Section (formerly the Presidency Research Group),
                   APS A; served on Governing Board of PRG, 1991 to 2003.
            New York Political Science Association.
            Pi Sigma Alpha.
            Phi Kappa Phi.


     Teaching Areas:

            American Government: courses taught include Introduction to American Government,
                  The Legislative Process, Political Parties and Social Movements, The American
                  Presidency, Media and Politics, Gun Control Politics and Policy, State and Local
                  Government, Abortion Politics, Elections and American Politics, Media and War,
                  internships in Washington, D.C., Albany, and Cortland County, Seminars on the
                  Decline of Parties and Third Parties, American Institutions, Current Develop­
                  ments in American Politics, and Introduction to College Life.

                   Public Policy: courses taught include Introduction to Public Policy, Gun Policy.
                   Areas of interest include policy theory, policy formation and decisionmaking, and
                   policy implementation.


                                                   48
Case 2:23-cv-01130-GRB-ARL Document 21-5 Filed 04/21/23 Page 50 of 52 PageID #: 315




     Teaching-Related Awards:

            Three-time recipient of the SUNY Cortland Student Government Association
            Outstanding Faculty Award (the "DiGiusto Award"), 1987, 1991, and 2003, for
            "Outstanding Service to Students." (The only faculty member ever to win this award
            more than once.)


     Other Professional Activities

     External Reviewer, University of Michigan-Dearbom, Project to Expand Promotion and Tenure
     Guidelines (PTIE) to Inclusively Recognize Innovation and Entrepreneurial Impact, 2021.

     Member, Howard Penniman Graduate Scholarship Selection Committee, Pi Sigma Alpha, 2018.

     Member, Advisory Board of Pi Sigma Alpha Undergraduate Journal of Politics, 2014-2016.

     Executive Council, Pi Sigma Alpha National Board, 2014-18.

     Fund and organizing leader for American Political Science Association’s new Distinguished
     Teaching Award, 2011-12.

     Chair, Presidency Research Group Task Force on Membership and Recruitment, 2007-08.

     Chair, Richard E. Neustadt Award Committee for Best Book on the Presidency published in
            2005, Presidency Research Group, 2006.

     President, Presidency Research Group, American Political Science Association, 2001-2003;
            Vice-President 1999-2001.

     Chair, Best Paper Award Committee, Presidency Research Group, American Political Science
            Association, for 1991 and 1992 conferences.

     Member, Governing Board of the Presidency Research Group of the American Political Science
          Association, 1991-2003.

     Editor, PRG Report. 1993-1997.

     Board of Editors, State University of New York Press, 1993-1996; 1997-2000. Board Chair,
            1998-2000.

     Member, Leonard D. White Award Committee for Best Dissertation in Public Administration,
          American Political Science Association, 1995.
                                                 49
Case 2:23-cv-01130-GRB-ARL Document 21-5 Filed 04/21/23 Page 51 of 52 PageID #: 316




     Conference Organizing Committee, "Presidential Power: Forging the Presidency for the 21st
            Century," Columbia University, November 15-16, 1996.

     Chair, E.E. Schattschneider Award Committee, best doctoral dissertation in American Politics,
            American Political Science Association, 1997.

     Secretary/Treasurer, Presidency Research Group, 1997-99.

     Book and article reviews for Houghton Mifflin, Cengage Learning, Random House, McGraw-
     Hill, St. Martins, W.W. Norton, Oxford University Press, Cambridge University Press,
     University of Chicago Press, University of California Press, Princeton University Press, Cornell
     University Press, UNC Press, Pearson Longman, Allyn & Bacon, Palgrave/Macmillan,
     University of New Mexico Press, Texas A&M University Press, Chatham House, CQ Press,
     HarperCollins, SUNY Press, Thompson Wadsworth, University of Michigan Press, University of
     Missouri Press, Westview Press, Brooking Institution, Rowman and Littlefield, Routledge,
     University of Alabama Press, American Political Science Review. PS. Comparative Politics.
     American Journal of Political Science. Policy Studies Journal. Policy Studies Review. Political
     Science Quarterly, the Journal of Politics. Western Political Quarterly. Polity. Social Science
     Quarterly. Political Behavior. American Politics Quarterly. Political Communication. Legislative
     Studies Quarterly. Government and Policy. Congress and the Presidency. Social Science Journal.
     Journal of Policy History. Political Research Quarterly. Presidential Studies Quarterly, Politics
     and Policy, and the National Science Foundation.


     Selected Community Service

     Administrative Law Judge/Hearing Officer for Cortland County Board of Health, 1994-present;
     for Tompkins County, 1997-present; for Chenango County, 1997-present; for Madison County,
     2006-2021.

     Member, City of Cortland Planning Commission, 2009-2012.

     Chair, SUNY Press Board of Editors, 1998-2000 (board member 1993-96, 1997-2000).

     Board President, Cortland County Arts Council, 1989-1990 (board member, 1987-1990).

     Chair, Homer Zoning Board of Appeals, 1995-1997; board member 1988-1997.

     Board member, Cortland County Landmark Society, 1989-1995.

     Chair, Planning Committee on Codes and Safety for the village of Homer's Odyssey 2010
     Project, 1996.
                                                 50
Case 2:23-cv-01130-GRB-ARL Document 21-5 Filed 04/21/23 Page 52 of 52 PageID #: 317




                                         51
